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                   Exhibit 1
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                          TxDOT Index of the Supplemental Administrative Record #1
                                   I-35 Capital Express - Central Project
                                                                               Description
Doc Admin         Doc      Doc         From/             To/*                  CC:*
No. Rec No.       Date     Type        Author(s)         With   Source         Attachments/Enclosures (A/E)*
  C-  AR52463-   2/13/2023 Guidance    TxDOT             N/A    TxDOT          Environmental Guide: Volume 2 Activity Instructions
AR246 AR52861




*Note: To, CC, and Attachments will be listed if applicable      Index of TxDOT I-35 Capital Express Central Supplemental Administrative Record #1
                                                                                                                                        Page 1 of 1
